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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )                CASE NO.      CR07-311-JCC
                                 )
12         v.                    )
                                 )
13                               )                DETENTION ORDER
    JAVIER CRUZ-MORALES,         )
14                               )
                Defendant.       )
15 ______________________________)
16 Offenses charged:
17            Count I:      Conspiracy to Distribute Cocaine, in violation of Title 21, U.S.C.,
18                          Sections 841(a)(1), 841(b)(1)(B) and 846;
19            Count II:     Possession of Cocaine with Intent to Distribute, in violation of Title
20                          21, U.S.C., Sections 841(a)(1), 841(b)(1)(C), and Title 18 U.S.C.,
21                          Section 2.
22   Date of Detention Hearing: September 7, 2007
23            The Court, having conducted a contested detention hearing pursuant to Title 18
24   U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
25   hereafter set forth, finds that no condition or combination of conditions which the defendant
26   can meet will reasonably assure the appearance of the defendant as required and the safety

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 1 of any other person and the community. The Government was represented by Adam
 2 Cornell. The defendant was represented by Robert Leen.
 3        FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 4            (1)    There is probable cause to believe the defendant committed the
 5                   conspiracy drug offense. The maximum penalty is in excess of ten years.
 6                   There is therefore a rebuttable presumption against the defendant’s
 7                   release based upon both dangerousness and flight risk, under Title 18
 8                   U.S.C. § 3142(e).
 9            (2)    The defendant is viewed as a risk of nonapparance as he is a citizen and
10                   national of Mexico who has been previously deported.
11            (3)    The Bureau of Immigration and Customs Enforcement has filed a
12                   detainer against defendant.
13            (4)    He is associated with six alias names and two dates of birth.
14 Based upon the foregoing information which is also consistent with the recommendation
15 of detention by U.S. Pretrial Services, it appears that there is no condition or
16 combination of conditions that would reasonably assure future Court appearances and/or
17 the safety of other persons or the community.
18            It is therefore ORDERED:
19            (l)    The defendant shall be detained pending trial and committed to the
20                   custody of the Attorney General for confinement in a correction facility
21                   separate, to the extent practicable, from persons awaiting or serving
22                   sentences or being held in custody pending appeal;
23            (2)    The defendant shall be afforded reasonable opportunity for private
24                   consultation with counsel;
25            (3)    On order of a court of the United States or on request of an attorney for
26                   the Government, the person in charge of the corrections facility in which

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 1               the defendant is confined shall deliver the defendant to a United States
 2               Marshal for the purpose of an appearance in connection with a court
 3               proceeding; and
 4         (4)   The clerk shall direct copies of this order to counsel for the United
 5               States, to counsel for the defendant, to the United States Marshal, and to
 6               the United States Pretrial Services Officer.
 7         DATED this 10th day of September, 2007.



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10                                                  MONICA J. BENTON
11                                                  United States Magistrate Judge

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